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 4
     Attorney for Defendant
 5
     FRED PINEDA
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-134-JAM
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND [PROPOSED]
                                                    )       ORDER CONTINUING JUDGMENT
11
     v.                                             )       SENTENCING
                                                    )
12
     FRED PINEDA,                                   )
                                                    )       Date: December 10, 2013
13
                                                    )       Time: 9:45 a.m.
            Defendant.                              )       Judge: John A. Mendez
14
                                                    )
                                                    )
15
                                                    )
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18          The parties hereby stipulate the following:
19          1. Judgment and sentencing in this matter is presently set for November 12, 2013.
20              Counsel for the parties request the date for judgment and sentencing be continued to
21              December 10, 2013 at 9:45 a.m. Counsel for Mr. Pineda needs additional time to
22              meet with Mr. Pineda, review the PSR; discuss the findings and recommendations
23              therein; and, research and draft informal objections as necessary. Assistant U.S.
24              Attorney Michael Beckwith and USPO Ronnie Preap have been advised of this
25              request and have no objection. The parties requests the Court adopt the following
26              schedule pertaining to the presentence report:
27
                Judgment and Sentencing date:                                     12/10/13
28
                Reply, or Statement of Non-Opposition:                            12/3/13


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 1
                 Motion for Correction of the Presentence Report
 2               Shall be filed with the Court and served on the
                 Probation Officer and opposing counsel no later than:         11/26/13
 3
                 The Presentence Report shall be filed with the Court
 4
                 And disclosed to counsel no later than:                       11/19/13
 5
                 Counsel’s written objections to the Presentence Report
 6               Shall be delivered to the probation officer and opposing
 7
                 Counsel no later than:                                        11/12/13

 8

 9      IT IS SO STIPULATED.
10   Dated: October 23, 2013                                      /s/ John R. Manning
11
                                                                 JOHN R. MANNING
                                                                 Attorney for Defendant
12                                                               Fred Pineda
13

14   Dated:                                                      Benjamin B. Wagner
                                                                 United States Attorney
15
                                                          by:    /s/
16
                                                                 MICHAEL BECKWITH
17                                                               Assistant U.S. Attorney

18

19
                                                  ORDER

20
              IT IS SO FOUND AND ORDERED this 1st day of November, 2013.
21

22                                                        /s/ John A. Mendez
23
                                                          HON. JOHN A. MENDEZ
                                                          U.S. DISTRICT JUDGE
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